Case 1:17-cv-00289-JMS-MJD Document 213 Filed 02/27/19 Page 1 of 5 PageID #: 2799



                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

     MICHAEL RAY STAFFORD,                         )
     CHARLES SMITH and DOUGLAS SMITH,              )
     individually, and on behalf of those          )
     similarly situated,                           )
                                                   )
                    Plaintiffs,                    )
                                                   )
            v.                                     )   Case No. 1:17-cv-289-JMS-MJD
                                                   )
      ROBERT E. CARTER, JR., et al.,               )
                                                   )
                    Defendants.                    )

       PLAINTIFFS’ WITNESS AND EXHIBIT LISTS FOR REMEDY HEARING

          Plaintiffs, Michael Ray Stafford, Charles Smith and Douglas Smith, individually,

     and class members, by counsel, hereby file their witness and exhibit lists for the remedy

     hearing, pursuant to order of this Court. [Filing No. 209, p. 1.]

                                         I.      Witnesses

            Plaintiffs reserve the right to call the following witnesses at the remedy hearing:

            1.      Raj Vuppalanchi, MBBS

              Dr. Vuppalanchi is expected to testify consistently with his expert report, his
     deposition testimony, and his declarations filed in support of Plaintiffs’ Memorandum in
     Support of Motion for Class Certification and in support of Plaintiffs’ Motion for
     Summary Judgment. [Filing Nos. 100-1, 166-1, 166-4]. He will also testify to his
     knowledge, skill, experience, training, and education. Dr. Vuppalanchi will testify
     regarding Hepatitis C (“HCV”) generally, including its effects and nature of transmission.
     He will also testify to the standard of care for HCV and its evolution, and how the
     treatment of Plaintiffs is inconsistent with the standard of care. Dr. Vuppalanchi will
     testify that treatment with DAAs is the standard of care, and to the public health benefits
     of treating with DAAs, including the benefits of treating prisoners with HCV. He will
     also testify that here is no medical justification for delaying treatment with DAAs where
     the use of those drugs is not medically contraindicated, and that delay in treatment results
     in worse outcomes and higher mortality rates.
Case 1:17-cv-00289-JMS-MJD Document 213 Filed 02/27/19 Page 2 of 5 PageID #: 2800



             2.      Suthat Liangpunsakul, M.D., M.P.H.

              Dr. Liangpunsakul is expected to testify consistently with his expert report, his
     deposition testimony, and his declaration filed in support of Plaintiffs’ Motion for
     Summary Judgment. [Filing No. 166-2.] He will also testify to his knowledge, skill,
     experience, training, and education, and the nature and treatment of HCV. Dr.
     Liangpunsakul will testify to the reasons that HCV is a major public health problem; the
     damage caused by HCV, including morbidity, injury and costs; the future of HCV care
     and treatment, the standard of care for HCV treatment; the practice and experience of
     the United States Department of Veterans Affairs in treating patients infected with HCV;
     and the benefits of treating HCV-positive inmates pursuant to the standard of care. He
     will also testify to the standard of care for HCV and its evolution, how and why DAAs
     became the standard of care, and how the treatment of Plaintiffs is inconsistent with the
     standard of care.

             3.      All witnesses listed by Defendants, unless objected to by Plaintiffs.

             4.      Plaintiffs also reserve the right to call any keeper of records required to
     establish the authenticity or any foundational requirement for the admissibility of any
     document.

             Plaintiffs reserve the right to call any individual later identified who may support

     or rebut any claim or defense; who may be offered for the purposes of impeachment; and

     any later disclosed or discovered witness.

                                             II.     Exhibits

             Plaintiffs reserve the right to offer all evidence and refer to any of the following

     exhibits at the trial of this matter:

             1.     Depositions, exhibits, affidavits, statements, discovery, documents,
     motions, briefs, responses made or ratified by any party or witness, and/or any other
     document or assertion that was taken, filed, made, served, mailed, or having any
     connection to the facts giving rise to the First Amended Complaint for Declaratory and Injunctive
     Relief.

           2.    Defendants’ policies, procedures, notices, bulletins and guidance regarding
     HCV treatment, including IDOC Policy 3.09. [Filing No. 166-6.]

            3.     Federal Bureau of Prisons’ “Evaluation and Management of Chronic
     Hepatitis C Virus (HCV) Infection.” [Filing No. 173-10.]

           4.     Curriculum vitae and expert reports of Dr. Vuppalanchi and Dr.
     Liangpunsakul. [See., e.g., Filing Nos. 166-1, pp. 2-30; 166-2, pp. 2-46.] CV and reports


                                                     2
Case 1:17-cv-00289-JMS-MJD Document 213 Filed 02/27/19 Page 3 of 5 PageID #: 2801



     for any witness called by Defendants.

             5.     HCV Guidelines published by the American Association for the Study of
     Liver Diseases (“AASLD”) and the Infectious Diseases Society of America (“IDSA”).
     (Available at www.hcvguidelines.org, and including, but not limited to, Filing Nos. 166-3,
     183-1.)

            6.      Settlement documents, court orders, press releases, and media coverage
     regarding how other states (including, but not limited to, Colorado, Pennsylvania and
     Massachusetts) have resolved matters similar to the instant action; are treating, or
     attempting to treat, prisoners with HCV [see, e.g., Filing No. 209-1]; or how the State of
     Indiana (and/or other states) has resolved a similar action regarding HCV treatment with
     DAAs in the Medicaid context. [Filing No. 211-1.]

            7.    CMS Letter to State Technical Contacts, November 5, 2015, available at
     https://www.medicaid.gov/medicaid-chip-program-information/by-topics/prescription-
     drugs/downloads/rx-releases/state-releases/state-rel-172.pdf.

            8.     Contracts, or portions thereof, between the Indiana Department of
     Correction and Wexford of Indiana, LLC. [See, e.g., Filing No. 166-5.]

            9.     Press releases from Indiana Auditor of State dated July 19, 2017 [Filing
     No. 166-11], and July 12, 2018 (available at
     https://calendar.in.gov/site/aos/event/indianas-financial-position-remains-strong/).

            10.    Indiana State Budget Agency Fiscal Year 2017-2018 Close-Out Statement
     Surplus Statement (available at
     https://www.in.gov/sba/files/FY2018_Closeout_Surplus.pdf). other docs from remedy
     folder

            11.     “Hepatitis C Fight Hinges on Prisons,” Noreen Marcus, U.S. News and
     World Report, February 5, 2019.

            12.    “Indiana Agrees to Provide Hepatitis C Drugs to More Medicaid
     Recipients,” Marilyn Odendahl, The Indiana Lawyer, February 19, 2019.

             13.     “ACLU and Colorado Department of Corrections Reach Historic
     Settlement to Treat all Colorado Prisoners with Hepatitis C,” September 12, 2018
     (available at https://www.aclu.org/news/aclu-and-colorado-department-corrections-
     reach-historic-settlement-treat-all-colorado-prisoners).

            14.      “Colorado Approves $41 million Settlement to Treat 2,200 Prisoners with
     chronic Hepatitis C,” Blair Miller, TheDenverChannel.com, September 12, 2018, updated
     September 13, 2018 (available at
     https://www.thedenverchannel.com/news/politics/colorado-approves-41-million-
     settlement-to-treat-2-200-prisoners-with-chronic-hepatitis-c).



                                                 3
Case 1:17-cv-00289-JMS-MJD Document 213 Filed 02/27/19 Page 4 of 5 PageID #: 2802



             15.     “5,000 Inmates with Hepatitis C Sued Pa. Prisons. Now, They’re on Their
     Way to Getting Treatment,” Samantha Melamed, philly.com, updated November 20, 2018
     (available at https://www.philly.com/philly/news/hepatitis-c-prison-treatment-
     pennsylvania-department-corrections-david-rudovsky-settlement-20181119.html).

             16.     “PA DOC Agrees to Treat All Inmates with Hepatitis C,” Kairys, Rudovsky,
     Messing, Feinberg & Lin, November 20, 2018 (available at
     https://www.krlawphila.com/pa-doc-agrees-to-treat-all-inmates-with-hepatitis-c/).

            17.    “Pa. Department of Corrections to Provide Costly Hepatitis C Treatment
     to Nearly 5,000 Inmates,” Bobby Allyn, WHYY.org, November 19, 2018 (available at
     https://whyy.org/articles/pa-department-of-corrections-to-provide-costly-hepatitis-c-
     treatment-to-nearly-5000-inmates/).

             18.     Spreadsheets maintained by Wexford of Indiana, LLC, regarding
     historical and current lists of inmates with HCV.

             19.      Any admissible exhibit listed on any party’s, or former party’s, final
     exhibits list, preliminary exhibits list, or initial disclosures.

             20.    Any document or writing used to impeach or rebut any witness.

           21.    All exhibits listed by any party in the briefing of summary judgment
     and/or remedy.

             22.    All exhibits listed by Defendants, unless objected to by Plaintiff.

             Plaintiffs specifically reserve the right to introduce exhibits subsequently

     discovered or disclosed by any party, non-party or witness; any exhibits produced by

     subpoena or other requests to third parties; exhibits as may be necessary after considering

     Defendants’ evidence at hearing, and to seek leave of Court to introduce additional

     exhibits.

                                                    Respectfully submitted,

                                                    FINDLING PARK CONYERS WOODY
                                                     & SNIDERMAN, PC

                                                    s/ Mark W. Sniderman
                                                    Mark W. Sniderman

                                                    One of the Attorneys for Plaintiffs



                                                    4
Case 1:17-cv-00289-JMS-MJD Document 213 Filed 02/27/19 Page 5 of 5 PageID #: 2803



     FINDLING PARK CONYERS WOODY & SNIDERMAN, PC
     151 N. Delaware St., Ste. 151
     Indianapolis, IN 46204
     (317) 231-1100 T
     (317) 231-1106 F
     msniderman@findlingpark.com




                                        5
